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 6
     Receiver for Baystar Capital Management, LLC
     and Lawrence Goldfarb
 7
 8
                           UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11   SECURITIES AND EXCHANGE                    )    Case No.: C-11-0938 WHA
12
     COMMISSION,                                )
                                                )    FINAL REPORT TO THE
13           Plaintiff,                         )    COURT AND FINAL
14                                              )    ACCOUNTING UPON THE
     v.                                         )    CLOSURE OF THE
15
                                                )    RECEIVERSHIP
16   LAWRENCE R. GOLDFARB and                   )
     BAYSTAR CAPITAL                            )
17
     MANAGEMENT, LLC,                           )
18                                              )
19           Defendants.                        )
                                                )
20                                              )
21                                              )
                                                )
22
             On September 6, 2016, this Court issued its Order (“the Order”) approving
23
     the Receiver’s Motion for a Final Distribution and Discharge of Duties. See:
24
     Docket No. 180. The Order relieved the Receiver of further duties, save for the
25
     third and final distribution to investors, the filing of the final federal and state tax
26
     returns for the Baystar Capital Management receivership, and the filling of the
27
28


                                                 1
                                 FINAL REPORT AND ACCOUNTING
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 1   final financial report to the Court, and the plaintiff SEC on its approved
 2   Standardized Financial Accounting Report, or SFAR.
 3         As of the date of the filing of this final report, the third and final
 4   distribution to investors of $540,630 has been completed. Likewise, as of the date
 5   of the filing of this final report, the federal and state tax returns for 2016 have
 6   been filed with the appropriate bodies. And finally, attached to this final report as
 7   Exhibit A is the final, signed SFAR report of the Receiver dated as of February
 8   28, 2017, which shows a $0.00 balance, reflecting the payment of all expenses
 9   and the distribution of all returns to investors. The total amount of recovered
10   funds to the estate was $7,531,977. The total amount disbursed to defrauded
11   investors after the payment of expenses and liens, was $6,740,311. The total
12   amount of fees to professionals and the Receiver was $366,312, or 4.8 % of the
13   amount recovered.
14         With the filing of this report, all business of the Receivership is concluded
15   and all tasks required by this Court in the Order of September 6, 2016 have been
16   completed.
17
18    Dated: February 23, 2017                GARTENBERG GELFAND HAYTON
                                              LLP
19
20                                     By:    /s/ John W. Cotton
                                              John W. Cotton
21
                                              Receiver for Baystar Capital
22                                            Management, LLC
23                                            and Lawrence Goldfarb
24
25
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                                                2
                                 FINAL REPORT AND ACCOUNTING
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                 Exhibit A
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